     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 1 of 9 Page ID #:134




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9
                              UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
                                    EASTERN DIVISION
12
13 THE APPEAL, INC. and ETHAN                  No. 5:22-cv-02111-JFW (AFM)
   COREY,
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               Plaintiffs,                     JOINT RULE 26(F) REPORT
15
               v.                              Scheduling Conference: March 20, 2023
16
                                               Time: 1:15 p.m.
17 UNITED STATES DEPARTMENT OF                 Courtroom: 7A
   JUSTICE’S OFFICE OF JUSTICE                 First Street Courthouse
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   PROGRAMS,                                   350 W. First Street
19             Defendant.                      Los Angeles, CA 90012
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                                               Hon. John F. Walter
21                                             United States District Judge
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 2 of 9 Page ID #:135




1           Plaintiffs The Appeal Inc. and Ethan Corey and Defendant United States Department
2     of Justice’s Office of Justice Programs, through their counsel, met via teleconference on
3     February 23, 2023, in compliance with Federal Rule of Civil Procedure 26 and Central
4     District Local Civil Rule 26-1.
5     A. Brief Statement of the Case
6           This action seeks the release of records from Defendant the United States Department
7     of Justice’s Office of Justice Programs pursuant to the Freedom of Information Act
8     (“FOIA”), 5 U.S.C. § 552. This Court has subject matter jurisdiction under 5 U.S.C.
9     § 552, 5 U.S.C. § 702, and 28 U.S.C. § 1331. No issues exist regarding personal
10    jurisdiction or venue, and no parties remain to be served.
11          Plaintiffs submitted three FOIA requests to Defendant seeking information submitted
12    to the Bureau of Justice Statistics (“BJS”) and the Bureau of Justice Assistance (“BJA”)
13    regarding deaths in custody, including pursuant to the Death in Custody Reporting Act
14    of 2000 and the Death in Custody Reporting Act of 2013. See generally Complaint (ECF
15    1).
16          In searches in response to Plaintiffs’ requests, Defendant has identified over 185,000
17    pages of potentially responsive records. See Complaint ¶¶ 21, 34. Defendant has
18    determined that all records responsive to Plaintiffs’ requests are exempt from disclosure
19    pursuant to FOIA Exemption 3, which applies to records that are:
20          Specifically exempted from disclosure by statute (other than section 552b of this title)
21          if that statute—
22          (A)(i) requires that the matters be withheld from the public in such a manner as to
23          leave no discretion on the issue; or
24          (ii) establishes particular criteria for withholding or refers to particular types of
25          matters to be withheld; and
26          (B) if enacted after the date of enactment of the OPEN FOIA Act of 2009,
27          specifically cites this paragraph.
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 3 of 9 Page ID #:136




1     5 U.S.C. § 552(b)(3).
2             Due to the large volume of records at issue, Defendant has not yet determined
3     whether any other FOIA exemptions may apply to portions of the requested records.
4     Making such determinations would require page-by-page review to determine which
5     exemptions apply, and whether any non-exempt portions of the records are “reasonably
6     segregable.” 5 U.S.C. § 552(b).
7         The parties are accordingly in agreement that this case can most efficiently be
8     resolved by determining at the outset, on summary judgment, whether Exemption 3
9     applies to prevent disclosure of any or all of the requested records. Defendant
10    respectfully requests permission to reserve the right to assert any other FOIA exemptions
11    in the event that the Court rejects the Exemption 3 assertion. See Animal Legal Defense
12    Fund v. U.S. FDA, 836 F.3d 987, 989 (9th Cir. 2016) (en banc; per curiam) (“Most
13    FOIA cases are resolved by the district court on summary judgment, with the district
14    court entering judgment as a matter of law.”). See also discussion under “D. Motions”
15    below.
16       Should any issues remain to be resolved after this Court determines the propriety of
17    the Exemption 3 assertion, the parties respectfully request that they be allowed to submit
18    a joint status report proposing a schedule for further proceedings as appropriate at that
19    time.
20    B. Discovery
21       1. Joint Statement
22       The parties agree that because this is a FOIA action, the usual discovery process does
23    not apply. FOIA cases are different from other civil matters subject to the discovery
24    provisions of the Federal Rules of Civil Procedure because the government bears the
25    burden to justify non-disclosure of documents. See 5 U.S.C. § 552(a)(4)(B); Lewis v.
26    IRS, 823 F.2d 375, 378 (9th Cir. 1987). “While ordinarily the discovery process grants
27    each party access to evidence, in FOIA ... cases discovery is limited because the
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 4 of 9 Page ID #:137




1     underlying case revolves around the propriety of revealing certain documents.” Lane v.
2     DOI, 523 F.3d 1128, 1134 (9th Cir. 2008). Discovery is only appropriate where “an
3     agency has not taken adequate steps to uncover responsive documents,” and discovery
4     requests will be denied “where an agency’s declarations are reasonably detailed,
5     submitted in good faith, and the court is satisfied that no factual dispute exists.”
6     Lawyers’ Comm. for Civil Rights of S.F. Bay Area v. U.S. Dep’t of the Treasury, 534 F.
7     Supp. 2d 1126, 1132 (N.D. Cal. 2008) (citations and quotations omitted).
8        Thus, discovery is greatly restricted in FOIA actions and is generally limited to the
9     scope of an agency’s search, its indexing and classification procedures, and similar
10    factual matters. See Schrecker v. U.S. Dep’t of Justice, 217 F. Supp. 2d 29, 35 (D.D.C.
11    2002), aff’d, 349 F.3d 657 (D.C. Cir. 2003). Moreover, permissible discovery
12    concerning such factual issues generally takes place, if at all, after the government
13    moves for summary judgment and submits supporting affidavits and memorandum of
14    law. See, e.g., Lane, 523 F.3d at 1134-35 (holding that district court’s “delay of
15    discovery” with respect to plaintiffs FOIA claim until after summary judgment “was
16    certainly within its discretion).
17       Accordingly, Defendants request that the Court stay the scheduling of any discovery
18    until after briefing is completed on summary judgment.
19       2. Required Issues to be Addressed
20        Proposed discovery cut-off date: As stated above, the parties agree that any
21          discovery should be stayed until after any summary judgment motion has been
22          decided.
23        Initial Disclosures (Rule 26(f)(3)(A)): Both parties have all of the relevant
24          administrative records consisting of the correspondence between Plaintiffs and
25          Defendant in regard to Plaintiffs’ FOIA requests. The parties agree that the
26          records do not need to be reproduced at this time.
27        Pretrial Disclosures (Rule 26(f)(3)(A)): The parties agree that this case can likely
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 5 of 9 Page ID #:138




1           be resolved on summary judgment, and respectfully request that the requirement
2           to propose a deadline for pre-trial disclosures be stayed pending resolution of
3           cross-motions for summary judgment on Exemption 3, as discussed under “D.
4           Motions” below.
5         Subjects of discovery (Rule 26(f)(3)(B)): As described above, the parties suggest
6           that discovery be stayed until after resolution of the cross-motions for summary
7           judgment on Exemption 3, as discussed under “D. Motions” below.
8         Electronic discovery (Rule 26(f)(3)(C)): The parties do not anticipate any issues
9           relating to disclosure or discovery of electronically stored information.
10        Privilege (Rule 26(f)(3)(D)): The parties do not anticipate any issues relating to
11          claims of privilege or of protection as to trial-preparation material.
12        Limitations on Discovery (Rule 26(f)(3)(E)): The parties do not anticipate the
13          need for changes to be made in the limitations on discovery imposed by the
14          Federal Rules of Civil Procedure or the Local Rules.
15        Other Orders (Rule 26(f)(3)(F)): The parties do not anticipate the need for any
16          other orders that should be entered by the Court under Rules 26(c),16(b) or (c).
17        Expert Witnesses (Local Rule 26-1(f)): The parties at this time do not intend to
18          retain experts. The parties respectfully request that the requirement to propose
19          deadlines for providing the identity of any expert as required by Rule 26(a)(2)(A)
20          be stayed pending resolution of the cross-motions for summary judgment on
21          Exemption 3, as discussed under “D. Motions” below.
22    C. Complex Case Procedures
23       The parties agree that this is not a complex case and there is no need to utilize the
24    procedures contained in the Manual for Complex Litigation. (Local Rule 26-1(a)).
25    D. Motions
26        There are no prior or pending motions in this case.
27        Proposed motions (Local Rule 26-1(b)): The parties agree that this case can most
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 6 of 9 Page ID #:139




1           efficiently be resolved by first determining, at summary judgment, whether
2           Defendant properly withheld all documents at issue in this case pursuant to FOIA
3           Exemption 3, reserving determination of the applicability of any other exemptions
4           should Plaintiff prevail on that issue. “[A]s a general rule, [the government] must
5           assert all [FOIA] exemptions at the same time.” Maydak v. U.S. Dep’t of Justice,
6           218 F.3d 760, 764 (D.C. Cir. 2000). However, “there may be times an agency is
7           justified in asserting only a single categorical exemption (e.g. ‘All of the records
8           were withheld under Exemption 3’) and reserving the use of more targeted
9           exemptions in the event the court rejects that exemption.” Shapiro v. U.S. Dep’t of
10          Justice, No. 1:13-cv-555-RDM, 2016 WL 3023980 (D.D.C. May 25, 2016), at *5.
11          Here, Defendant has determined that Exemption 3 applies on a categorical basis to
12          prevent the disclosure of the records at issue. However, to determine the
13          applicability of other FOIA exemptions, and whether non-exempt portions of
14          responsive documents are “reasonably segregable,” 5 U.S.C. § 552(b), would
15          require a much more lengthy review process. In litigation before the U.S. District
16          Court for the District of Columbia involving largely the same issues and
17          documents as this case, Chief Judge Howell permitted the parties to move for
18          summary judgment “limited to the applicability of Exemption 3” without
19          prejudice to Defendant’s ability to subsequently assert other bases for
20          withholding, if appropriate. See Minute Order (paperless), Gannett Satellite
21          Information Network, LLC v. U.S. Dep’t of Justice, No. 1:22-cv-00475-BAH
22          (D.D.C. May 31, 2022).
23        Proposed motion deadlines:
24             o Defendant to file its motion for summary judgment, limited to the
25                applicability of Exemption 3 (including adequacy of Defendant’s search for
26                responsive records) on or before May 4, 2023.
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 7 of 9 Page ID #:140




1                o Plaintiffs to file their combined opposition to Defendant’s motion for
2                   summary judgment and cross-motion for partial summary judgment on the
3                   applicability of Exemption 3 on or before June 19, 2023.
4                o Defendant to file its reply in support of its summary judgment motion on or
5                   before July 19, 2023.
6                o Plaintiffs to file their reply in support of their cross-motion for partial
7                   summary judgment on or before August 18, 2023.
8                o Hearing on the motion on or after August 21, 2023.
9                o Should the Court determine at summary judgment that Exemption 3 does
10                  not apply, the Parties respectfully request that they be permitted to file a
11                  Joint Status Report proposing a schedule for further proceedings within 30
12                  days of this Court’s summary judgment order.
13    E. Settlement
14        Efforts to settle or resolve the case to date (Local Rule 26-1(c)): The parties agree
15          that settlement of this case would be premature pending resolution of the
16          applicability of FOIA Exemption 3 to the documents at issue. Should the Court
17          determine on summary judgment that Exemption 3 does not apply, the parties will
18          meet and confer to determine whether any remaining issues in the case may be
19          amenable to resolution leading to dismissal of this action.
20        Recommended settlement procedure (Local Rules 26-1(c) and 16-15): The parties
21          agree that mediation would not be fruitful at this stage of the case, for the reasons
22          discussed above. For purposes of compliance with the Court’s Order (ECF 5), the
23          parties would request option 2, a mediation before an attorney from the Attorney
24          Settlement Panel.
25    F. Trial
26        Estimated length of trial (Local Rule 26-1(d)): The parties believe this FOIA case
27          should be resolved by summary judgment. However, for purposes of compliance
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 8 of 9 Page ID #:141




1           with this Scheduling Order, the parties estimate a 1-2 day trial.
2         Any trial will be to the Court.
3         Trial date: The parties believe this FOIA case should be resolved by summary
4           judgment and that trial will not be necessary.
5     G. Additional Parties and Claims for Relief
6        The parties do not anticipate the need to add additional parties or claims for relief but
7     propose a deadline of June 19, 2023. (Local Rule 26-1(e)). The parties propose a
8     deadline of June 19, 2023, for amending the pleadings.
9     H. Certification as to Interested Parties or Persons
10       Plaintiff filed the “Certification as to Interested Parties or Persons” required by Local
11       Rule 7.1-1 on November 28, 2022, see ECF 3, and reported that The Appeal, Inc. is a
12       private, non-governmental entity with no corporate parents, affiliates and/or
13       subsidiaries which are publicly held, and therefore no publicly-held corporation owns
14       10% or more of its stock. Defendant is not required to file a certificate under Local
15       Rule 7.1-1 or Federal Rule of Civil Procedure 7.1.
16    I. Lead Trial Counsel Certification
17       Lead Trial Counsel are registered ECF users. The email address of record for Lead
18       Trial Counsel for Plaintiffs is thomasburke@dwt.com, and for Defendant is
19       cormac.a.early@usdoj.gov.
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21          Dated: March 3, 2023             THOMAS R. BURKE
                                             SARAH E. BURNS
22
                                             /s/ Leena M. Charlton
23
                                             LEENA M. CHARLTON
24
                                             Attorneys for Plaintiffs
25                                           THE APPEAL, INC. and ETHAN COREY
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     Case 5:22-cv-02111-JFW-AFM Document 22 Filed 03/03/23 Page 9 of 9 Page ID #:142




1           Dated: March 3, 2023          BRIAN M. BOYNTON
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7
                                           /s/ Cormac A. Early
8
                                           CORMAC A. EARLY
9                                          Trial Attorney
10                                         Attorneys for Defendant United States
                                           Department of Justice’s Office of Justice
11                                         Programs
12
13                      ATTESTATION UNDER LOCAL RULE 5-4.3.4
14    I, Cormac A. Early, am the ECF User whose ID and password are being used to file this
15    JOINT RULE 26(F) REPORT. In compliance with Local Rules 5-4.3.4(a)(2), I hereby
      attest that Leena M. Charlton has concurred in this filing.
16
17    DATED: March 3, 2023
                                           /s/ Cormac A. Early
18                                         ____________________________
19                                         CORMAC A. EARLY
                                           Trial Attorney
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